     Case 1:23-cv-03026-TOR   ECF No. 153   filed 07/16/24   PageID.2976 Page 1 of 3




 1
                                                                       FILED IN THE
 2                                                                 U.S. DISTRICT COURT
                                                             EASTERN DISTRICT OF WASHINGTON



 3                                                             Jul 16, 2024
                                                                  SEAN F. MCAVOY, CLERK

 4

 5                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WASHINGTON
 6

 7   STATE OF WASHINGTON, STATE
     OF OREGON, STATE OF                       NO. 1:23-CV-3026-TOR
 8   ARIZONA, STATE OF
     COLORADO, STATE OF                        ORDER SETTING BRIEFING
 9   CONNECTICUT, STATE OF                     SCHEDULE
     DELAWARE, STATE OF
10   ILLINOIS, ATTORNEY GENERAL
     OF MICHIGAN, STATE OF
11   NEVADA, STATE OF NEW
     MEXICO, STATE OF RHODE
12   ISLAND, STATE OF VERMONT,
     DISTRICT OF COLUMBIA, STATE
13   OF HAWAII, STATE OF MAINE,
     STATE OF MARYLAND, STATE
14   OF MINNESOTA, and
     COMMONWEALTH OF
15   PENNSYLVANIA,

16                            Plaintiffs,

17         v.

18   UNITED STATES FOOD AND
     DRUG ADMINISTRATION,
19   ROBERT M. CALIFF, in his official
     capacity as Commissioner of Food
20   and Drugs, UNITED STATES
     DEPARTMENT OF HEALTH AND


       ORDER SETTING BRIEFING SCHEDULE ~ 1
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 1    HUMAN SERVICES, and XAVIER
      BECERRA, in his official capacity as
 2    Secretary of the Department of Health
      and Human Services,
 3
                                 Defendants.
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 5         BEFORE THE COURT is the Parties’ Joint Status Report. ECF No. 152.

 6   The Court has reviewed the record and files herein and is fully informed.

 7   ACCORDINGLY, IT IS HEREBY ORDERED:

 8         1. Plaintiffs will file their motion for summary judgment, not to exceed 25

 9            pages, no later than October 10, 2024;

10         2. Defendants will file their combined cross-motion for summary judgment

11            and opposition to Plaintiffs’ motion for summary judgment, not to exceed

12            40 pages, no later than December 6, 2024;

13         3. Plaintiffs will file their combined reply in support of their motion for

14            summary judgment and opposition to Defendants’ motion for summary

15            judgment, not to exceed 35 pages, no later than January 24, 2025;

16         4. Defendants will file their reply in support of their motion for summary

17            judgment, not to exceed 20 pages, no later than March 7, 2025;

18         5. The parties shall jointly prepare, and Plaintiffs shall file, a joint appendix

19            containing portions of the administrative record cited in the parties’ briefs

20            no later than March 21, 2025; and



        ORDER SETTING BRIEFING SCHEDULE ~ 2
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 1         6. Immediately following the completion of briefing, the parties will advise

 2             the Court of their availability for oral argument.

 3         The District Court Executive is directed to enter this Order and furnish

 4   copies to counsel, including those attorneys who have not signed up for electronic

 5   filing and service.

 6         DATED July 16, 2024.

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 8                                  THOMAS O. RICE
                                 United States District Judge
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        ORDER SETTING BRIEFING SCHEDULE ~ 3
